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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                     No. 18 CR 03475

ROBERT DUNSWORTH,

                Defendant.

                             UNOPPOSED MOTION FOR
                         EXTENSION OF TIME TO FILE REPLY

       NOW COMES the defendant, Robert Dunsworth, by and through his counsel, Irma

Rivas, Assistant Federal Public Defender, and moves the Court to extend the time to file a

reply in this case. Currently, a reply is due on Thursday, February 6, 2020. A fourteen

(14) day extension would require the reply be filed Thursday, February 20, 2020.

       As grounds for this request, counsel states:

       1.       Mr. Dunsworth is currently in custody at the Santa Fe County Adult

Detention Facility. After Mr. Dunsworth met with counsel to discuss the reply to the

government’s response, additional investigation was required. This investigation

requires more time to complete. Further, defense counsel was out of the office for

training purposes on January 29th through 31st, 2020 and has been on duty for the week of

February 3rd, 2020, which has slowed the progress of the investigation and completion of

the reply.
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       2.       Special Assistant U.S. Attorney Thomas Outler does not oppose this

motion.

       WHEREFORE, defendant Robert Dunsworth requests that the Court extend the

deadline for filing a reply by fourteen (14) days, or until February 20, 2020.

I HEREBY CERTIFY THAT on the                            Respectfully submitted,
6th Day of February 2020, I filed
the foregoing electronically through the                FEDERAL PUBLIC DEFENDER
CM/ECF system, which caused SAUSA                       111 Lomas NW, Suite 501
Thomas Outler to be served by electronic                Albuquerque, NM 87102
means, as more fully reflected on the                   (505) 346-2489
Notice of Electronic Filing.

                                                         /s/ filed electronically    .
                                                        IRMA RIVAS, AFPD
                                                        Attorney for Defendant
          filed electronically




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